22-10943-mew   Doc 161-5   Filed 07/28/22      Entered 07/28/22 15:51:49   Exhibit Ex. D
                              to Levitt Aff.   Pg 1 of 5



                                   Exhibit D
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                                        to Levitt Aff.   Pg 2 of 5




Voyager Digital Provides Market
Update




NEWS PROVIDED BY
Voyager Digital Ltd. 
Jun 22, 2022, 07:45 ET




NEW YORK, June 22, 2022 /PRNewswire/ - Voyager Digital Ltd. ("Voyager" or the "Company")
(TSX: VOYG) (OTCQX: VYGVF) (FRA: UCD2) today announced its subsidiary, Voyager Digital
Holdings, Inc. ("VDH"), has entered into a definitive agreement with Alameda Ventures Ltd.
("Alameda") related to the previously disclosed credit facility, which is intended to help
Voyager meet customer liquidity needs during this dynamic period.


VDH entered into a definitive agreement with Alameda for a US$200 million cash and USDC
revolver and a 15,000 BTC revolver (the "Loan"). As previously disclosed, the proceeds of the
credit facility are intended to be used to safeguard customer assets in light of current
market volatility and only if such use is needed. In addition to this facility, as of June 20,
2022, Voyager has approximately US$152 million cash and owned crypto assets on hand, as
well as approximately US$20 million of cash that is restricted for the purchase of USDC.



Alameda's obligation to provide funding is subject to certain conditions, which include: no
more than US$75 million may be drawn down over any rolling 30-day period; the Company's
corporate debt must be limited to approximately 25 percent of customer assets on the
platform, less US$500 million; and additional sources of funding must be secured within 12
months. This is a summary of the Loan terms; a copy of the Loan agreement will be filed at
http://www.sedar.com.
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Voyager                Doc 161-5 Filed
         concurrently announced     that 07/28/22    Entered
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issue a notice of default to Three Arrows Capital ("3AC") for failure to repay its loan. Voyager's
exposure to 3AC consists of 15,250 BTC and $350 million USDC. The Company made an
initial request for a repayment of $25 million USDC by June 24, 2022, and subsequently
requested repayment of the entire balance of USDC and BTC by June 27, 2022. Neither of
these amounts has been repaid, and failure by 3AC to repay either requested amount by
these specified dates will constitute an event of default. Voyager intends to pursue recovery
from 3AC and is in discussions with the Company's advisors regarding the legal remedies
available. The Company is unable to assess at this point the amount it will be able to recover
from 3AC.


Alameda currently indirectly holds 22,681,260 common shares of Voyager ("Common
Shares"), representing approximately 11.56% of the outstanding Common and Variable
Voting Shares. The Loan is considered a "related party transaction" pursuant to Multilateral
Instrument 61-101 - Protection of Minority Security Holders in Special Transactions ("MI 61-
101"). Voyager is relying on the exemption available under Section 5.7(1)(f) of MI 61-101
minority shareholder approval requirement. Additionally, the Loan is exempt from the
formal valuation requirement of MI 61-101 pursuant to Section 5.4(1) of MI 61-101. The Loan
Agreement was approved by the Board of Directors of Voyager.


About Voyager Digital Ltd.
Voyager Digital Ltd.'s (TSX: VOYG) (OTCQX: VYGVF) (FRA: UCD2) US subsidiary, Voyager
Digital, LLC, is a cryptocurrency platform in the United States founded in 2018 to bring
choice, transparency, and cost-efficiency to the marketplace. Voyager offers a secure way to
trade over 100 different crypto assets using its easy-to-use mobile application. Through its
subsidiary Coinify ApS, Voyager provides crypto payment solutions for both consumers and
merchants around the globe. To learn more about the company, please
visit https://www.investvoyager.com.


Forward Looking Statements
Certain information in this press release, including, but not limited to, statements regarding
future growth and performance of the business, momentum in the businesses, future
adoption of digital assets, the terms of the term sheet and any definitive loan
documentation and the Company's anticipated results may constitute forward looking
information (collectively, forward-looking statements), which can be identified by the use of
terms such as "may," "will," "should," "expect," "anticipate," "project," "estimate," "intend,"
"continue" or "believe" (or the negatives) or other similar variations. Forward-looking           
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statements           Doc 161-5
           involve known           Filed 07/28/22
                           and unknown               Entered 07/28/22
                                            risks, uncertainties      15:51:49
                                                                 and other      Exhibit
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                                      to Levitt Aff. Pg 4 of 5
cause Voyager's actual results, performance or achievements to be materially different from
any of its future results, performance or achievements expressed or implied by forward-
looking statements. Moreover, we operate in a very competitive and rapidly changing
environment. New risks emerge from time to time. It is not possible for our management to
predict all risks, nor can we assess the impact of all factors on our business or the extent to
which any factor, or combination of factors, may cause actual results to differ materially
from those contained in any forward-looking statements we may make. In light of these
risks, uncertainties, and assumptions, the future events and trends discussed in this press
release may not occur and actual results could differ materially and adversely from those
anticipated or implied in the forward-looking statements. There is no assurance that the
funds available under the Loan agreement will be available in a timely manner or, even if
available will, together with any other assets of Voyager be sufficient to safeguard customer
assets. It is uncertain what amount Voyager will be able to recover from 3AC for non-
payment or the legal remedies available to Voyager in connection with such non-payment
or the impact on the future business, cash flows, liquidity and prospects of Voyager as a
result of 3AC's non-payment. Forward looking statements are subject to the risk that the
global economy, industry, or the Company's businesses and investments do not perform as
anticipated, that revenue or expenses estimates may not be met or may be materially less or
more than those anticipated, that parties to whom the Company lends assets are able to
repay such loans in full and in a timely manner, that trading momentum does not continue
or the demand for trading solutions declines, customer acquisition does not increase as
planned, product and international expansion do not occur as planned, risks of compliance
with laws and regulations that currently apply or become applicable to the business and
those other risks contained in the Company's public filings, including in its Management
Discussion and Analysis and its Annual Information Form (AIF). Factors that could cause
actual results of the Company and its businesses to differ materially from those described in
such forward-looking statements include, but are not limited to, a decline in the digital
asset market or general economic conditions; changes in laws or approaches to regulation,
the failure or delay in the adoption of digital assets and the blockchain ecosystem by
institutions; changes in the volatility of crypto currency, changes in demand for Bitcoin and
Ethereum, changes in the status or classification of cryptocurrency assets, cybersecurity
breaches, a delay or failure in developing infrastructure for the trading businesses or
achieving mandates and gaining traction; failure to grow assets under management, an
adverse development with respect to an issuer or party to the transaction or failure to obtain
a required regulatory approval. Readers are cautioned that Assets on Platform and trading
volumes fluctuate and may increase and decrease from time to time and that such               
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fluctuations          Doc
             are beyond   161-5
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present performance and trends are not guarantees of future performance, accordingly, you
should not put undue reliance on forward-looking statements, current or past performance,
or current or past trends. Information identifying assumptions, risks, and uncertainties
relating to the Company are contained in its filings with the Canadian securities regulators
available at www.sedar.com. The forward-looking statements in this press release are
applicable only as of the date of this release or as of the date specified in the relevant
forward-looking statement and the Company undertakes no obligation to update any
forward-looking statement to reflect events or circumstances after that date or to reflect the
occurrence of unanticipated events, except as required by law. The Company assumes no
obligation to provide operational updates, except as required by law. If the Company does
update one or more forward-looking statements, no inference should be drawn that it will
make additional updates with respect to those or other forward-looking statements, unless
required by law. Readers are cautioned that past performance is not indicative of future
performance and current trends in the business and demand for digital assets may not
continue and readers should not put undue reliance on past performance and
current trends. There is no assurance that the transactions contemplated by the non-
binding term sheet will be completed or if completed they will be on the terms agreed.
There is no assurance that the funds available under the loan agreement will be available or,
even if available will, together with any other assets of Voyager be sufficient to safeguard
customer assets.



The TSX has not approved or disapproved of the information contained herein.


SOURCE Voyager Digital Ltd.




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